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                       UNITED STATES BANKRUPTCY COURT
                                District of Delaware
                            824 Market Street, 3rd Floor
                               Wilmington, DE 19801
In Re:                                                                          Case No.: 20−10036−CSS
Tough Mudder Incorporated
                                                                                Chapter: 11

                                                Notice of Deficiency

   The document(s) you submitted to the Court was received on 2/21/20 and has been docketed at Docket # 66 .
   However, if your intention is for this document to be docketed as a Proof of Claim (or Amended Proof of Claim),
   it must be submitted using Official Form B410. Official forms can be found on our website at
   www.uscourts.gov/forms/bankruptcy−forms/proof−claim. A proof of claim may be filed either electronically or
   as a paper document. For information on how to file a claim, visit the United States Bankruptcy Court − District
   of Delaware website at www.deb.uscourts.gov. When resubmitting your claim, please either include this Notice
   or ensure that you make reference to the docket number initially assigned to your filing.
   The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, the
   case is currently closed. If you desire to reopen the case, a Motion to Reopen must be filed along with the
   appropriate filing fee.
   The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, it is
   not in compliance with our Local Rules.
   The bankruptcy petition you filed was received on . It was docketed and assigned Case # . At the time of the
   filing, the applicable photo identification requirement was not satisifed. The debtor(s) named in the petition must
   either present in person a current, valid form of photo identification or file a legible copy by mail within the next
   fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo ID Requirement can be found on the
   Court's website at http://www.deb.uscourts.gov/filing−without−attorney
   A bankruptcy petition, affirmed to be authorized to be filed on your behalf, was received on . It was docketed
   and assigned Case # . At the time of filing, the applicable photo identifcation requirement was not satisfied. The
   debtor(s) named in the petition must either present in person a current, valid form of photo identification or file a
   legible copy by mail within the next fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo
   ID Requirement can be found on the Court's website at http://www.deb.uscourts.gov/filing−without−attorney

   The document(s) you filed with the Court at Docket # is not in compliance with Local Rule 9018−1(d).

   Other:

   Local Rules and Official Forms can be found on the Court's website at www.deb.uscourts.gov

   __________________________________________________________________________________________

   I certify that this Notice of Deficiency was mailed on the date indicated below to:
   Classic Tents & Events
   6380 Best Friend Road
   Norcross, GA 30071




                                                                    Una O'Boyle, Clerk of Court
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Date: 2/21/20                                By: Leslie Murin, Deputy Clerk




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